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                                                                 STRICT COURT                November 1, 2019
                                             WESTERN DISTRICT OF WASH INGTON ATTACOMA
                                        BY                                       DEPUTY,
The Honorable Judge Robert J. Bryan
United States Courthouse
1717 Pacific Avenue, Room 3100
Tacoma, WA 98402-3200

Your Honor:

May it please the Court. Please allow me to write to support a reduction in sentence of Schaeffer Cox.
While not related to nor associated with Mr. Cox or his family in any way, I have followed his case for
many years and have supported his legal defense with my personal funds. I pray the Court and Your
Honor will be as lenient as possible and return Mr. Cox to his wife and two children at the earliest
possible date. Showing extraordinary mercy in Mr. Cox's case is overwhelmingly and sorely needed!

I welcome Your Honor to contact me directly for any confirmation or questions the Court may have.

I have the honor to remain,




(The Honorable Rev. Dr.) Stanley Michael Latta, COL (Ret.) Appointed NC official for over 30 years
Recipient: Daily Point of Light Award, Kentucky Colonel, and President's Call To Service Award


Cc: Mr. Shaeffer Cox, c/o Shaeffer's Angels




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